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                               UNITED STATES JUDICIAL PANEL
                                            on
                                MULTIDISTRICT LITIGATION



IN RE: AQUEOUS FILM−FORMING FOAMS
PRODUCTS LIABILITY LITIGATION                                                          MDL No. 2873



                                    (SEE ATTACHED SCHEDULE)



                       CONDITIONAL TRANSFER ORDER (CTO −17)



On December 7, 2018, the Panel transferred 75 civil action(s) to the United States District Court for
the District of South Carolina for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See 357 F.Supp.3d 1391 (J.P.M.L. 2018). Since that time, 36 additional action(s)
have been transferred to the District of South Carolina. With the consent of that court, all such
actions have been assigned to the Honorable Richard M. Gergel.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the District of South Carolina and assigned to Judge
Gergel.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
District of South Carolina for the reasons stated in the order of December 7, 2018, and, with the
consent of that court, assigned to the Honorable Richard M. Gergel.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the District of South Carolina. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7−day period, the stay will be continued until further order of the Panel.



                                                       FOR THE PANEL:


      Aug 12, 2019
                                                       John W. Nichols
                                                       Clerk of the Panel



                       A TRUE COPY
                       ATTEST: ROBIN L. BLUME, CLERK


                       BY:

                                DEPUTY CLERK
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IN RE: AQUEOUS FILM−FORMING FOAMS
PRODUCTS LIABILITY LITIGATION                                          MDL No. 2873



                 SCHEDULE CTO−17 − TAG−ALONG ACTIONS



 DIST     DIV.     C.A.NO.      CASE CAPTION


NEW HAMPSHIRE

  NH       1       19−00800     NH, State of v. 3M Company et al

VERMONT

  VT       2       19−00134     State of Vermont v. 3M Company et al
